         Case 1:23-cr-00039-TSC Document 14 Filed 03/08/23 Page 1 of 2




                      UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    )
                                            )
               v.                           )
                                            )       Criminal No. 1:23-cr-00039
VICTOR MARTINEZ                             )
                                            )
               Defendant                    )



                    MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

       Undersigned counsel, pursuant to Local Criminal Rule 44.5(d), respectfully moves this

Court for leave to withdraw as counsel in the above matter. Mr. Martinez has retained new

counsel, Serguel Akiti, Esq.

       Wherefore, for the foregoing reasons, undersigned counsel respectfully requests that this

Court grant this Motion to Withdraw as Counsel.




                                                    Respectfully submitted,
                                                    _____________/s/____________
                                                    Paulette Pagán
                                                    DC Bar # 1737374
                                                    Local Counsel for Victor Martinez
                                                    Price Benowitz LLP
                                                    409 7th Street, NW
                                                    Suite 200
                                                    Washington, DC 20001
                                                    (202) 731-9882
                                                    paulette@pricebenowitz.com
         Case 1:23-cr-00039-TSC Document 14 Filed 03/08/23 Page 2 of 2




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 8th day of March 2023, I caused a true and correct
copy of the foregoing Defendant’s Motion For Leave To Withdraw As Counsel to be delivered
via CM/ECF to all parties in this matter.

                                                 ___________/s/_______________
                                                 Paulette Pagán
